           Case 23-11548-pmm Doc 1-1 Filed 05/26/23 Entered 05/26/23 13:35:18                                 Desc
                           Corporate Ownership Statement Page 1 of 1



                                          United States Bankruptcy Court
                                             Eastern District of Pennsylvania
 In re   344 South Street Cor oration                                                  Case No.
                                                              Debtor(s)                Chapter    _11______ _ _
                                                                                                              _




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 344 South Street Corporation in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Joseph Cucolo
618 S. 3rd Street
Philadel hia, PA 19147
Nicholas Ventura
344 South Street
Philadel hia, PA 19147
William Curry
802 S. 8th Street
Philadel hia, PA 19147




□ None [Check ifapplicable]




Date � I
                                                                ttcrrney or Litigant
                                                                 44 South Street Corporation
                                                   eir Greenblatt Pierce LLP
                                                 1339 Chestnut Street
                                                 Suite 500
                                                 Philadelphia, PA 19107
                                                 2156658181 Fax:2156658464
                                                 jcianciulli@wgpllp.com
